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                      IN THE UNITED STATES DISTRICT COUR
                      FOR THE EASTERN DISTRICT OF VIRGINI

                                        Alexandria Division




    Sony Music Entertainment,ei at.,
                          Ptaintiffs

            V.                                                Civil Case No. l:18-cv-950
                                                              Hon. Liam O'Grady
    Cox Communications, et at..

                          Defendants.


                                         VERDICT FORM



        We. the jury in the above-captioned action, answer the questions submitted to us as

 follows:



  LIABILITY: CONTRIBUTORY AND VICARIOUS INFRINGEMENT


     1. Did Plaintiffs prove by a preponderance of the evidence that Cox was contributorily
        liable for infringement?

        Answer. Yes   /                No



    2. Did Plaintiffs prove by a preponderance of the evidence that Cox was vicariously liable
       for infringement?

        Answer: Yes    /               No


 Ifyou answered "NO"to both Question I and Question 2. DO NOT answer any more questions.

    3. Plainiifls have asserted infringement claims for 10,017 works. How many of the works
       did Cox vicariously or contributorily infringe?

        An.swer: JO} Oj'^          works(up to 10,017)
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